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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

JAMAL COLEMAN and SHEENA
COLEMAN, on behalf of themselves and
all others similarly situated,

Plaintiffs, Case No, 17-cv-01093-VAC-SRF
V.

WEYERHAEUSER COMPANY,

Defendant.

 

 

INFINITY HOME COLLECTION’S MOTION TO QUASH SUBPOENA

Infinity Home Collection (“Infinity”) files this Motion to Quash the Subpoena served on it
on November 29, 2017.

Infinity seeks to quash the Subpoena to Produce Documents, Information, or Objection or
to Permit Inspection of Premises (“Production Request”) propounded by Jamal Coleman and
Sheena Coleman, on behalf of themselves and all others similarly situated in the above captioned
Civil Action (“Plaintiffs”). The Production Request must be quashed consistent with the
mandatory provisions of Fed. R. Civ. P. 45(d)(3), because it: (a) fails to allow a reasonable time
to comply; (b) requires disclosure of privileged or other protected matter, if no exception or waiver
applies; (c) subjects Infinity to undue burden; and (d) seeks to circumvent the rules for discovery
between parties under Rule 34 by using a subpoena as against a non-party outside of the
jurisdiction of the Court. The Production Request is improper and, consequently, Infinity

respectfully request that this Court quash the subpoena and the attendant Production Request.
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WHEREFORE Infinity respectfully requests that its Motion to Quash Subpoena be granted

and for such other and further relief as is just and appropriate under the circumstances.

Dated this 13" day of December, 2017.

Respectfully submitted,

COAN,PAYT YNE, LLC

 

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Attormey for Infinity Home Collection
